Case 2:22-cv-00912-RAO Document 19 Filed 05/31/22 Page 1 of 2 Page ID #:48



 1
 2
 3
 4
 5
 6
 7
 8                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 9
10   EDUARDO JIMENEZ,                         )   Case No.: 2:22-cv-00912-RAO
                                              )
11                Plaintiff,                  )   ORDER AWARDING EQUAL
                                              )   ACCESS TO JUSTICE ACT
12         vs.                                )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
13   KILOLO KIJAKAZI,                         )   AND COSTS PURSUANT TO 28
     Acting Commissioner of Social            )   U.S.C. § 1920
14   Security,                                )
                                              )
15                Defendant                   )
                                              )
16
17         Based upon the parties’ Stipulation for the Award and Payment of Equal
18   Access to Justice Act Fees, Costs, and Expenses:
19         IT IS ORDERED that fees and expenses in the amount of $1,150.00 as
20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
21   awarded subject to the terms of the Stipulation.
22   DATE: May 31, 2022
23                             __________________/s/_________________
                               THE HONORABLE ROZELLA A. OLIVER
24                             UNITED STATES MAGISTRATE JUDGE
25
26

                                              -1-
Case 2:22-cv-00912-RAO Document 19 Filed 05/31/22 Page 2 of 2 Page ID #:49



 1   Respectfully submitted,
 2   LAW OFFICES OF LAWRENCE D. ROHLFING, INC., CPC
 3      /s/ Brian C. Shapiro
     BY: _________________________
 4       Brian C. Shapiro
        Attorney for plaintiff Eduardo Jimenez
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

                                           -2-
